     Case 4:18-cv-00070-JHM-HBB Document 1 Filed 05/09/18 Page 1 of 8 PageID #: 1




 1
                              UNITED STATES DISTRICT COURT
 2
                              WESTERN DISTRICT OF KENTUCKY
 3

 4
     MICHAEL MILLER and MAGDALENA
 5
     MILLER, husband and wife,
                                                    Case No.:
 6                  Plaintiffs,                                  4:18-CV-70-JHM
 7           vs.
 8
                                                    COMPLAINT AND DEMAND FOR
                                                    JURY TRIAL
 9   TLC RESORTS VACATION CLUB,                        1. TELEPHONE CONSUMER
10
                                                          PROTECTION ACT [47 U.S.C. §
     LLC.,                                                227 et. seq.]
11
                                                       2. KENTUCKY CONSUMER
                   Defendant.                             PROTECTION ACT [KRS
12
                                                          367.170]
                                                       3. INVASION OF PRIVACY –
13
                                                          INTRUSION UPON SECLUSION

14

15                     COMPLAINT AND DEMAND FOR JURY TRIAL
16
             Michael Miller and Magdalena Miller, husband and wife (“Plaintiffs”), through
17
     their attorneys, allege the following against TLC Resorts Vacation Club, LLC.
18
     (“Defendant”).
19

20
                                        INTRODUCTION

21      1. Count I of Plaintiffs’ Complaint is based upon the Telephone Consumer Protection

22           Act (“TCPA”), 47 U.S.C. § 227. The TCPA is a federal statute that broadly
23
             regulates the use of automated telephone equipment. Among other things, the
24
             TCPA prohibits certain unsolicited marketing calls, restricts the use of automatic
25




                              COMPLAINT AND DEMAND FOR JURY TRIAL
                                                 -1-
     Case 4:18-cv-00070-JHM-HBB Document 1 Filed 05/09/18 Page 2 of 8 PageID #: 2




            dialers or prerecorded messages, and delegates rulemaking authority to the Federal
 1

 2          Communications Commission (“FCC”).

 3     2. Count II of Plaintiffs’ Complaint is based upon Kentucky Consumer Protection

 4
            Act (“KCPA”), at KRS 367.170, which forbids unfair, false, misleading or
 5
            deceptive acts in trade or commerce.
 6
       3.   Count III of Plaintiff’s Complaint is based upon the Invasion of Privacy - Intrusion
 7
            upon Seclusion, as derived from § 652B of the Restatement (Second) of Torts. §
 8

 9          652B prohibits an intentional intrusion, “physically or otherwise, upon the solitude

10          or seclusion of another or his private affairs or concerns… that would be highly
11
            offensive to a reasonable person.”
12
                                 JURISDICTION AND VENUE
13
       4. Plaintiffs reside in the State of Kentucky, and therefore, personal jurisdiction is
14

15
            established.

16     5. Jurisdiction of the court arises under 28 U.S.C. § 1331, 47 U.S.C. § 227.

17     6. Venue is proper pursuant to 28 U.S.C. 1391(b)(2) in that a substantial part of the
18
            events or omissions giving rise to the claim occurred in this District. Because
19
            Defendant transacts business here, personal jurisdiction is established.
20
                                            PARTIES
21

22     7. Plaintiffs are natural persons residing in Fordsville, Ohio County, Kentucky.

23     8. Defendant is a servicer of unsecured consumer debt with its headquarters located

24
            in Las Vegas, NV and regularly transacts business throughout the United States
25




                            COMPLAINT AND DEMAND FOR JURY TRIAL
                                                 -2-
     Case 4:18-cv-00070-JHM-HBB Document 1 Filed 05/09/18 Page 3 of 8 PageID #: 3




            and Kentucky. Defendant may be served with process at its registered agent Stan
 1

 2          Mullis, located at 1 South Main Street, Las Vegas, Nevada 89101.

 3                                FACTUAL ALLEGATIONS
 4
       9.   Defendant is attempting to collect a debt from Plaintiffs.
 5
       10. On or about August 2016, Defendant began placing calls to Plaintiffs’ cellular
 6
            phone numbers 270-363-1313 and 270-363-9895, in an attempt to collect an
 7
            alleged debt.
 8

 9     11. The calls came from the following telephone numbers: (702) 489-7385; upon

10          information and belief this number is owned or operated by Defendant.
11
       12. On or around September 9, 2016, at approximately 3:44 p.m., Plaintiff,
12
            Magdalena Miller, answered a collection call from Defendant; Plaintiff heard a
13
            pause before the collection agent began to speak, indicating the use of an
14

15
            automated telephone dialing system.

16     13. Defendant informed Plaintiff that it was attempting to collect a debt.

17     14. Plaintiff instructed Defendant not to contact her any further.
18
       15. On or around October 17, 2016, at approximately 2:07 p.m., Plaintiff, Michael
19
            Miller, answered a collection call from Defendant; Plaintiff heard a pause before
20
            the collection agent began to speak, indicating the use of an automated telephone
21

22          dialing system.

23     16. Defendant informed Plaintiff that it was attempting to collect a debt.

24
       17. Plaintiff instructed Defendant not to contact him any further.
25




                              COMPLAINT AND DEMAND FOR JURY TRIAL
                                                -3-
     Case 4:18-cv-00070-JHM-HBB Document 1 Filed 05/09/18 Page 4 of 8 PageID #: 4




       18. Between March 16, 2017 to May 11, 2017, Plaintiffs received approximately 50
 1

 2        calls made by the Defendant to the Plaintiffs’ cellular phone after both Plaintiffs

 3        requested not to be contacted.
 4
       19. Upon information and belief, approximately 72 calls were made by the Defendant
 5
          to the Plaintiffs’ cellular phone since Plaintiff first requested the calls to cease.
 6
       20. The Federal Communications Commission (“FCC”) noted in its 2003 TCPA Order
 7
          that a predictive dialer is “equipment that dials numbers and, when certain
 8

 9        computer software is attached, also assists telemarketers in predicting when a sales

10        agent will be available to take calls. The hardware, when paired with certain
11
          computer software, has the capacity to store or produce numbers and dial those
12
          numbers at random, in sequential order, or from a database of numbers.” 2003
13
          TCPA Order, 18 FCC Rcd at 14091, para. 131.
14

15
       21. The FCC further explained that the “principal feature of predictive dialing software

16        is a timing function, not number storage or generation.” Id.

17     22. Finally, the FCC stated that “a predictive dialer falls within the meaning and
18
          statutory definition of ‘automatic telephone dialing equipment’ and the intent of
19
          Congress.” Id. At 14091-92, paras. 132-33
20
       23. The conduct was not only willful, but done with the intention of causing Plaintiffs
21

22        such distress, so as to induce his to pay the debt.

23     24. Plaintiff, Michael Miller, suffers from PTSD, anxiety and depression, these calls

24
          induced his symptoms causing his medication intake to increase.
25




                           COMPLAINT AND DEMAND FOR JURY TRIAL
                                                 -4-
     Case 4:18-cv-00070-JHM-HBB Document 1 Filed 05/09/18 Page 5 of 8 PageID #: 5




       25. Plaintiff, Magdalena Miller, received calls while at work, causing her to become
 1

 2        distracted and embarrassment at the workplace, Plaintiff had to silence her phone

 3        at work, to stop the disruptions.
 4
       26. As a result of Defendant’s conduct, Plaintiffs sustained actual damages, including
 5
          but not limited to, emotional and mental pain and anguish.
 6
                                                COUNT I
 7

 8                        (Violations of the TCPA, 47 U.S.C. § 227)

 9     27. Plaintiffs incorporates by reference all of the above paragraphs of the Complaint
10
          as though fully stated herein.
11
       28. Defendant violated the TCPA. Defendant’s violations include, but are not limited
12
          to the following:
13

14
             a) Prior to the filing of the action, on multiple occasions, Defendant violated

15               TCPA 47 U.S.C. § 227 (b)(1)(A)(iii) which states in pertinent part, “It shall

16               be unlawful for any person within the United States . . . to make any call
17
                 (other than a call made for emergency purposes or made with the prior
18
                 express consent of the called party) using any automatic telephone dialing
19
                 system or an artificial or prerecorded voice — to any telephone number
20

21               assigned to a . . . cellular    telephone service . . . or any service for which

22               the called party is charged for the call.
23
             b) Within four years prior to the filing of the action, on multiple occasions,
24
                 Defendant willfully and/or knowingly contacted Plaintiffs at Plaintiffs’
25
                 cellular telephone using an artificial prerecorded voice or an automatic


                           COMPLAINT AND DEMAND FOR JURY TRIAL
                                                  -5-
     Case 4:18-cv-00070-JHM-HBB Document 1 Filed 05/09/18 Page 6 of 8 PageID #: 6




                    telephone dialing system and as such, Defendant knowing and/or
 1

 2                  willfully violated the TCPA.

 3        29. As a result of Defendant’s violations of 47 U.S.C. § 227, Plaintiffs are entitled to

 4
             an award of five hundred dollars ($500.00) in statutory damages, for each and
 5
             every violation, pursuant to 47 U.S.C. § 227(b)(3)(B). If the Court finds that
 6
             Defendant knowingly and/or willfully violated the TCPA, Plaintiffs are entitled to
 7
             an award of one thousand five hundred dollars ($1,500.00), for each and every
 8

 9           violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

10
                                              COUNT II
11
                                 (Violation of KCPA, KRS 367.220)
12
          30. Plaintiffs incorporates herein by reference all of the above paragraphs of the
13

14
             complaint as though fully set forth herein at length.

15        31. KRS 367.170 forbids unfair, false, misleading or deceptive acts in trade or

16           commerce.
17
          32. The barrage of phone calls constitutes unfair collections practices and caused
18
             Plaintiffs to suffer emotional distress.
19
          33. Plaintiffs are entitled to damages, punitive damages, and attorney’s fees for the
20

21           violation by Defendant, pursuant to KRS 367.220

22   //
23
     //
24

25   //



                              COMPLAINT AND DEMAND FOR JURY TRIAL
                                                   -6-
     Case 4:18-cv-00070-JHM-HBB Document 1 Filed 05/09/18 Page 7 of 8 PageID #: 7




                                            COUNT III
 1

 2                             (Defendant’s Invasion of Privacy

 3                                (Intrusion upon Seclusion)
 4
       34. Plaintiff incorporates herein by reference all of the above paragraphs of this
 5
           complaint as though fully set forth herein at length.
 6
       35. Defendant violated Plaintiff’s privacy. Defendant’s violations include, but are
 7
           not limited to, the following:
 8

 9            a) Defendant intentionally intruded, physically or otherwise, upon Plaintiff’s

10               solitude and seclusion by engaging in harassing phone calls in an attempt
11
                 to collect on an alleged debt despite numerous requests for calls to cease.
12
              b) Defendant’s conduct would be highly offensive to a reasonable person as
13
                 Plaintiff received calls that often disrupted Plaintiff’s operation of his
14

15
                 businesses.

16            c) Defendant’s acts, as described above, were done intentionally with the

17               purpose of coercing Plaintiff to pay the alleged debt.
18
       36. As a result of Defendant’s violations of Plaintiff’s privacy, Defendant is liable
19
           to Plaintiff for actual damages. If the Court finds that the conduct is found to be
20
           egregious, Plaintiff may recover punitive damages.
21

22     WHEREFORE, Plaintiffs, Michael Miller and Magdalena Miller, husband and wife,

23     respectfully request that judgment be entered against Defendant, TLC Resorts
24
       Vacation Club, LLC, for the following:
25
              A. Punitive damages as allowed by KRS 367.170, et seq.;


                           COMPLAINT AND DEMAND FOR JURY TRIAL
                                                -7-
     Case 4:18-cv-00070-JHM-HBB Document 1 Filed 05/09/18 Page 8 of 8 PageID #: 8




             B. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(C);
 1

 2           C. Costs and reasonable attorneys’ fees pursuant to KRS 367.170, et seq.;

 3           D. Awarding Plaintiff any pre-judgment and post-judgment interest as may be
 4
                allowed under the law; and
 5
             E. Any other relief that the Honorable Court deems appropriate.
 6

 7

 8   RESPECTFULLY SUBMITTED,

 9        Dated: May 9, 2018
                                             By: /s/ STEFANIE EBBENS KINGSLEY
10
                                             STEFANIE EBBENS KINGSLEY LAW
11                                           100 N. MAIN STREET, SUITE 300
                                             CORBIN, KY 40701
12                                           (606) 261-2240 OFFICE
                                             (606) 260-2565 CELL
13
                                             stefanie@sek-law.com
14                                           Attorney for Plaintiffs,
                                             Michael Miller and Magdalena Miller
15

16

17

18

19

20

21

22

23

24

25




                         COMPLAINT AND DEMAND FOR JURY TRIAL
                                              -8-
